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     CLEMENTE M. JIMÉNEZ, ESQ.
 1
     California State Bar Number 207136
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     Sacramento, CA 95814
 3   (916) 443-8055
 4
     Attorney for VIDAL GONZALEZ
 5
 6                                  UNITED STATES DISTRICT COURT
 7                                 EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                       Case No.: 16-067 JAM
10
                      Plaintiff,                     STIPULATION AND ORDER
11                                                   REMOVING JANETT THOMPSON AS
                vs.                                  CO-SURETY AND NAMING MARIA
12
                                                     SALOME GONZALEZ AS SOLE
13   VIDAL GONZALEZ,                                 SURETY FOR UNSECURED BOND
14                    Defendant.                     DATE: August 31, 2017
15                                                   JUDGE: Kendall J. Newman
16
17              IT IS HEREBY STIPULATED by and between Assistant United States Attorney,
18   Ross Naughton, Counsel for Plaintiff, and attorney Clemente M. Jiménez, Counsel for
19   Defendant VIDAL GONZALEZ, upon the recommendation of Pretrial Services, that Mr.
20   Gonzalez’ wife, Maria Salome Gonzalez, be named as sole surety on the unsecured bond for
21   Mr. Gonzalez. On March 18, 2016, Mr. Gonzalez was ordered released on a $200,000
22   unsecured bond co-signed by his wife and daughter, Janett Thompson. Ms. Thompson has
23   contacted Pretrial Services requesting to be removed as surety. In light of Mr. Gonzalez’ full
24   compliance during the pendency of his pretrial release, the parties agree, based on the
25   recommendation of Pretrial Services, that Janett Thompson should be removed as a named
26   surety on the unsecured bond.
27   //

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                  Case 2:16-cr-00067-JAM Document 93 Filed 09/01/17 Page 2 of 2


     DATED:           August 31, 2017          /S/ Ross Naughton
 1
                                               PHILLIP A. TALBERT
 2                                             by ROSS NAUGHTON
                                               Attorney for Plaintiff
 3
 4                                             /S/ Clemente M. Jiménez
                                               CLEMENTE M. JIMÉNEZ
 5                                             Attorney for Vidal Gonzalez
 6
 7
 8
 9
10
                                              ORDER
11
                IT IS SO ORDERED, that Janett Thompson shall be removed as a named surety on
12
     Vidal Gonzalez’ unsecured bond, leaving Maria Salome Gonzalez as the sole surety for the
13
     unsecured bond.
14
15   Dated: August 31, 2017
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     08/31/17
